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        Exhibit 135
    (Filed Under Seal)
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      , UHVHUYH WKH ULJKW WR VXSSOHPHQW RU PRGLI\ P\ RSLQLRQ VKRXOG WKH &RXUW DOORZ EDVHG RQ
UHYLHZ RI DQ\ DGGLWLRQDO GLVFRYHU\ PDWHULDOV H[SHUW UHSRUWV SOHDGLQJV DQG RWKHU PDWHULDO WKDW
PLJKW EH H[FKDQJHG EHWZHHQ WKH SDUWLHV LQ WKLV PDWWHU

,,       6800$5< 2) &21&/86,216

      'U 7KRPDV 9DUQHU¶V GDPDJHV DQDO\VLV UHJDUGLQJ ERWK 6DQRIL¶V DOOHJHG XQMXVW
HQULFKPHQW DQG 0\ODQ¶V DOOHJHG ORVW SURILWV LV GHHSO\ IODZHG +LV DQDO\VLV VXIIHUV IURP VHYHUDO
IXQGDPHQWDO HUURUV HDFK RI ZKLFK LQGHSHQGHQW RI WKH RWKHU UHQGHUV KLV DQDO\VLV HFRQRPLFDOO\
XQUHOLDEOH

      )LUVW 'U 9DUQHU IDLOV WR SURYLGH DQ\ OLQNDJH EHWZHHQ WKH DOOHJHG FRQGXFW E\ 6DQRIL DQG
VDOHV RI $XYL4 'U 9DUQHU IDLOV WR OLQN WKH DOOHJHG VWDWHPHQWV DQGRU DGYHUWLVLQJ SUDFWLFHV WR
SK\VLFLDQ SUHVFULELQJ GHFLVLRQV FRQVXPHU SXUFKDVLQJ GHFLVLRQV RU XOWLPDWHO\ WR RYHUDOO VDOHV RI
$XYL4 7KLV IDLOXUH WR OLQN DQ\ DOOHJHG FRQGXFW WR $XYL4 VDOHV PHDQV WKDW 'U 9DUQHU¶V
SXUSRUWHG GDPDJHV DQDO\VLV GRHV QRW PHDVXUH KDUP HLWKHU LQ WKH IRUP RI XQMXVW HQULFKPHQW WR
6DQRIL RU LQ WKH IRUP RI ORVW SURILWV WR 0\ODQ

      6HFRQG 'U 9DUQHU IDLOV WR GHWHUPLQH DQ\ LPSDFW RI WKH DOOHJHG FRQGXFW RQ $XYL4
VDOHV ,QVWHDG 'U 9DUQHU EHJLQV E\ FDOFXODWLQJ WRWDO $XYL4 VDOHV LPSOLFLWO\ DWWULEXWLQJ all
sales WR WKH DOOHJHG VWDWHPHQWV DQG DOVR WKHUHE\ LPSOLFLWO\ DVVXPLQJ WKDW $XYL4¶V EXWIRU
VDOHV ZRXOG KDYH EHHQ ]HUR 6XFK DQ DSSURDFK LJQRUHV WKDW $XYL4 ZDV D KLJKO\ GLIIHUHQWLDWHG
SURGXFW WKDW UHSUHVHQWHG VLJQLILFDQW LQQRYDWLRQ LQ WKH PDUNHW IRU HSLQHSKULQH DXWRLQMHFWRUV
$XYL4 H[KLELWHG D FRPSDFW VL]H YRLFH LQVWUXFWLRQ D UHWUDFWDEOH QHHGOH DQG RWKHU GLVWLQFWLYH
IHDWXUHV ZKLFK ERWK 0\ODQ DQG 6DQRIL DQWLFLSDWHG ZRXOG JHQHUDWH KLJK OHYHOV RI PDUNHW
SHQHWUDWLRQ DQG VDOHV 'U 9DUQHU LJQRUHG $XYL4¶V PDUNHW SRWHQWLDO DV ZHOO DV DOO
LQGHSHQGHQW GULYHUV RI $XYL4 VDOHV ,QVWHDG RI DFFRXQWLQJ IRU RU VXEWUDFWLQJ $XYL4¶V
DQWLFLSDWHG VDOHV 'U 9DUQHU FDOFXODWHG GDPDJHV XVLQJ DOO RI $XYL4¶V DFWXDO VDOHV HIIHFWLYHO\
GHWHUPLQLQJ WKDW EXWIRU WKH DOOHJHG FRQGXFW E\ 6DQRIL $XYL4 VDOHV ZRXOG KDYH EHHQ zero
6XFK D SURSRVLWLRQ FRQWUDGLFWV 0\ODQ¶V YHU\ RZQ VDOHV IRUHFDVWV DQG UHVHDUFK

      0\ DQDO\VLV XVHV DV D EHQFKPDUN WKH SUHODXQFK PDUNHW IRUHFDVWV RI 0\ODQ DQG 6DQRIL
%HFDXVH $XYL4 UHSUHVHQWHG D QHZ DQG LQQRYDWLYH GHYLFH ERWK FRPSDQLHV LQYHVWHG VLJQLILFDQW
WLPH DQG HIIRUW LQ PHDVXULQJ WKH H[SHFWHG LPSDFW RI $XYL4 RQ WKH PDUNHW %RWK FRPSDQLHV
DOVR UHDFKHG UHPDUNDEO\ VLPLODU FRQFOXVLRQV 7KH\ FRQFOXGHG WKDW $XYL4 ZDV D KLJKO\


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GLIIHUHQWLDWHG SURGXFW WKDW ZRXOG PHHW VXEVWDQWLDO DQG RWKHUZLVH XQPHW QHHGV LQ WKH PDUNHWSODFH
$V D UHVXOW ERWK FRPSDQLHV FRQFOXGHG WKDW $XYL4 ZRXOG JHQHUDWH VXEVWDQWLDO VDOHV DQG
PDUNHW VKDUH


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                                                               +HQFH WKH HYLGHQFH FRQWUDGLFWV WKH
SURSRVLWLRQ WKDW $XYL4 VDOHV ZHUH LQFUHDVHG E\ DQ\ VXSSRVHG FRQGXFW $V D UHVXOW , FRQFOXGH
WKDW $XYL4 VDOHV ZHUH QRW LQFUHDVHG E\ WKH DOOHJHG 6DQRIL FRQGXFW

       , FRQFOXGH WKDW 6DQRIL ZDV QRW XQMXVWO\ HQULFKHG E\ WKH DOOHJHG FRQGXFW DQG WKDW WKH
DVVRFLDWHG GDPDJHV DUH ]HUR 6DQRIL ZDV QRW XQMXVWO\ HQULFKHG EHFDXVH WKH HYLGHQFH GRHV QRW
VXSSRUW D FRQFOXVLRQ WKDW $XYL4 VDOHV ZHUH LQFUHDVHG E\ DQ\ IDOVH RU PLVOHDGLQJ SUDFWLFHV
0\ODQ IDLOV WR WLH DQ\ $XYL4 VDOHV WR WKLV DOOHJHG FRQGXFW




       %HFDXVH $XYL4 VDOHV ZHUH QRW LQFUHDVHG GXH WR WKH DOOHJHG 6DQRIL FRQGXFW DQG
EHFDXVH 0\ODQ PD\ QRW KDYH EHHQ DEOH WR HYHQ PDNH DGGLWLRQDO (SL3HQ VDOHV JLYHQ
PDQXIDFWXULQJ LVVXHV ZLWK LWV VXSSOLHU , DOVR FRQFOXGH WKDW 0\ODQ GLG QRW VXIIHU DQ\ ORVW SURILWV
DV D UHVXOW RI WKH DOOHJHG SUDFWLFHV

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                1. EpiPen®
       (SLQHSKULQH DOVR FRPPRQO\ NQRZQ DV DGUHQDOLQH LV DSSURYHG E\ WKH 86 )RRG DQG
'UXJ $GPLQLVWUDWLRQ ³)'$´ WR EH XVHG LQ OLIHWKUHDWHQLQJ HPHUJHQF\ VLWXDWLRQV LQGXFHG E\
DQDSK\OD[LV DV D UHVXOW RI DOOHUJHQLF H[SRVXUH (SL3HQ ZDV LQWURGXFHG DV WKH ILUVW HSLQHSKULQH

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    86 )RRG   'UXJ $GPLQLVWUDWLRQ (SLQHSKULQH ,PSRUWDQW 3UHVFULELQJ ,QIRUPDWLRQ ³6XEMHFW 1HZ )RUPXODWLRQ RI



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SKDUPDFHXWLFDO FRPSDQ\ KHDGTXDUWHUHG LQ 3DULV )UDQFH 6DQRIL UHWXUQHG WKH ULJKWV WR $XYL4
EDFN WR NDOpR LQ HDUO\  IROORZLQJ D YROXQWDU\ SURGXFW UHFDOO .DOpR QRZ PDQXIDFWXUHV DQG
PDUNHWV $XYL4 )URP YHU\ HDUO\ LQ WKH SUHODXQFK VWDJH $XYL4 KDV EHHQ FRQVLGHUHG DQ
LQQRYDWLYH GHYLFH ZLWK D SURPLVLQJ SURILOH WKDW FRXOG PHHW XQPHW QHHGV LQ WKH ($, PDUNHW

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        0\ODQ LQ LWV FRXQWHUFODLPV DOOHJHV VHYHUDO /DQKDP $FW YLRODWLRQV E\ 6DQRIL 0\ODQ
DOOHJHV WKDW FHUWDLQ IDOVH DQG PLVOHDGLQJ VWDWHPHQWV ZHUH FRPPXQLFDWHG WR SK\VLFLDQV WKURXJK
6DQRIL VDOHV UHSUHVHQWDWLYHV DQG WKURXJK ZULWWHQ SURPRWLRQDO PDWHULDOV 0\ODQ DOOHJHV WKDW
6DQRIL PDGH IDOVH DQGRU PLVOHDGLQJ VWDWHPHQWV DERXW (SL3HQ DV ZHOO DV $XYL4 LQFOXGLQJ
WKDW $XYL4 LV ELRHTXLYDOHQW DQG WKHUDSHXWLFDOO\ HTXLYDOHQW WR (SL3HQ WKDW $XYL4 ZDV WKH
³QHZ (SL3HQ´ WKDW $XYL4 LV PRUH SDWLHQW IULHQGO\ WKDQ (SL3HQ DQG WKDW $XYL4 LV WKH
RQO\ ($, GHYLFH ZLWK D UHWUDFWDEOH QHHGOH 0\ODQ DOVR DOOHJHV WKDW $XYL4 ZURQJIXOO\ PDGH
FODLPV UHJDUGLQJ SDWLHQW SUHIHUHQFH 0U *DU\ =LH]LXOD 3ODLQWLIIV¶ SKDUPDFHXWLFDO H[SHUW
SURYLGHV D GLVFXVVLRQ RI WKHVH VWDWHPHQWV DQG FODLPV DOOHJHGO\ PDGH E\ 6DQRIL 'U 9DUQHU
GRHV QRW DVVHVV WKH YDOLGLW\ RI HDFK RI WKHVH DOOHJDWLRQV LQ FDOFXODWLQJ GDPDJHV DOOHJHGO\ VXIIHUHG
E\ 0\ODQ DV D UHVXOW RI WKHVH VWDWHPHQWV 6LPLODUO\ , DOVR DVVXPH IRU WKH SXUSRVHV RI D GDPDJHV
FDOFXODWLRQ WKDW WKHVH DOOHJDWLRQV PDGH E\ 0\ODQ DQG GHVFULEHG E\ 0U =LH]LXOD DUH WUXH

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           '$0$*(6

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        'U 9DUQHU SURYLGHV WZR GDPDJHV DQDO\VHV RQH FRYHULQJ 6DQRIL¶V DOOHJHG XQMXVW
HQULFKPHQW DQG WKH VHFRQG FRYHULQJ 0\ODQ¶V DOOHJHG ORVW SURILWV ,Q WKRVH DQDO\VHV KH VLPSO\


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     6DQRIL ³2FWREHU   $XYL4 HSLQHSKULQH LQMHFWLRQ 863 5HFDOO )$4V´ KWWSVZZZVDQRILXVHQ
     SURGXFWVDQGUHVRXUFHV$XYL4HSLQHSKULQHLQMHFWLRQ8635HFDOO$XYL4HSLQHSKULQHLQMHFWLRQ8635HFDOO
     )$4V 6DQRIL ³6DQRIL 86 WR 5HWXUQ $XYL4 HSLQHSKULQH LQMHFWLRQ 863 5LJKWV WR NDOpR´ )HE  
     KWWSZZZ QHZVVDQRILXV6DQRIL86WR5HWXUQ$XYL4HSLQHSKULQHLQMHFWLRQ8635LJKWVWRNDOR
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     See $QVZHU $IILUPDWLYH 'HIHQVHV DQG &RXQWHUFODLPV RI 0\ODQ ,QF DQG 0\ODQ 6SHFLDOW\ /3 ³0\ODQ
     &RXQWHUFODLPV´  1R FY 'NW  -DQ    
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     0\ODQ &RXQWHUFODLPV    DQG 
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     ([SHUW 5HSRUW RI *DU\ =LH]LXOD ³=LH]LXOD 5HSRUW´  )HE  
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     9DUQHU 5HSRUW  



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SURYLGHV FDOFXODWLRQV FRYHULQJ DOO VDOHV DQG DOO SURILWV RI $XYL4

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                                                                                                        +H DVVXPHV DW
OHDVW LPSOLFLWO\ WKDW DOO SURGXFW VDOHV PDGH E\ 6DQRIL RYHU WKH HQWLUH FRXUVH RI $XYL4¶V WLPH
RQ WKH PDUNHW ZHUH WKH UHVXOW RI FHUWDLQ DOOHJHG VWDWHPHQWV PDGH E\ 6DQRIL

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%HFDXVH WKH ORVW SURILWV ZHUH EDVHG RII RI 6DQRIL¶V WRWDO JURVV VDOHV 'U 9DUQHU WKXV DJDLQ
DVVXPHV DW OHDVW LPSOLFLWO\ WKDW DOO $XYL4 VDOHV ZHUH FDXVHG E\ FHUWDLQ DOOHJHG VWDWHPHQWV

         'U 9DUQHU PDNHV WKLV DVVXPSWLRQ GHVSLWH WKH IDFW WKDW KH SURYLGHV QR OLQNDJH EHWZHHQ
WKH DOOHJHG FRQGXFW DQG any $XYL4 VDOHV 'U 9DUQHU SURYLGHV QR DQDO\VLV GRHV QRW UHYLHZ
DQ\ HYLGHQFH LQ WKH UHFRUG DQG SURYLGHV QR OLQNDJH RI DQ\ NLQG EHWZHHQ $XYL4 VDOHV LQ WKH
PDUNHWSODFH DQG WKH VXSSRVHG FRQGXFW

         'U 9DUQHU WDNHV WKHVH SRVLWLRQV ZKLOH LJQRULQJ WKH KLJKO\ GLIIHUHQWLDWHG QDWXUH RI $XYL
4 DQG LWV DQWLFLSDWHG VDOHV 7KH PDUNHW SRWHQWLDO RI $XYL4 KDV ORQJ EHHQ DFNQRZOHGJHG E\
ERWK 0\ODQ DQG 6DQRIL DQG ERWK H[SHFWHG WKDW WKH LQQRYDWLYH IHDWXUHV RI $XYL4 ZRXOG
JHQHUDWH KLJK VDOHV²UHJDUGOHVV RI FHUWDLQ DOOHJHG SUDFWLFHV %RWK FRPSDQLHV LQGHSHQGHQWO\
GHWHUPLQHG WKDW $XYL4¶V FRPSDFW VL]H YRLFH LQVWUXFWLRQV DQG RWKHU FKDUDFWHULVWLFV ZRXOG
GULYH VDOHV EHFDXVH WKH SURGXFW ZRXOG DGGUHVV SUHYLRXVO\ XQPHW QHHGV 'U 9DUQHU LJQRUHV WKHVH
SHUWLQHQW IDFWV DERXW $XYL4

         ,Q WKLV FRQWH[W LW LV LQDSSURSULDWH WR VLPSO\ DVVXPH DV 'U 9DUQHU GRHV WKDW ³DOO RI
6DQRIL¶V $XYL4 VDOHV >ZH@UH VROG DV D UHVXOW RI >DOOHJHGO\@ IDOVH DQG PLVOHDGLQJ

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     9DUQHU 5HSRUW  
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     6LPLODUO\ 0U =LH]LXOD DOVR IDLOV WR RIIHU DQ\ HYLGHQFH VWDWLVWLFDO RU RWKHUZLVH WKDW WKH DOOHJHG SUDFWLFHV KH
     GHWDLOV KDG DQ\ LPSDFW RQ SK\VLFLDQ SUHVFULELQJ GHFLVLRQV RU RQ DQ\ SRUWLRQ RI $XYL4¶V RYHUDOO VDOHV



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UHSUHVHQWDWLRQV´ 'U 9DUQHU¶V DSSURDFK HIIHFWLYHO\ DVVXPHV DZD\ WKH LQKHUHQW VDOHV SRWHQWLDO
RI $XYL4 DV D QHZ DQG XQLTXH SURGXFW ,QVWHDG RI DFFRXQWLQJ IRU $XYL4¶V LQGHSHQGHQW
VDOHV SRWHQWLDO KH VLPSO\ DWWULEXWHV DOO $XYL4 VDOHV WR WKH DOOHJHG FRQGXFW +HQFH 'U 9DUQHU
LJQRUHV WKH FOHDU HYLGHQFH RI $XYL4¶V VDOHV SRWHQWLDO ZKLOH DUELWUDULO\ DWWULEXWLQJ DOO $XYL4
VDOHV WR WKHVH DOOHJHG UHSUHVHQWDWLRQV ZLWKRXW DQ\ HYLGHQFH WR VXSSRUW VXFK DQ DWWULEXWLRQ

        ,Q KLV ORVW SURILWV DQDO\VLV 'U 9DUQHU DOVR DVVXPHV WKDW DOO $XYL4 VDOHV ZHUH PDGH DW
WKH H[SHQVH RI (SL3HQ $V ZLWK KLV XQMXVW HQULFKPHQW FDOFXODWLRQ KH PDNHV WKLV DVVXPSWLRQ
ZLWKRXW  LQYHVWLJDWLQJ WKH SRWHQWLDO PDUNHWH[SDQGLQJ QDWXUH RI $XYL4 RU  FRQVLGHULQJ WKH
PDQXIDFWXULQJ LVVXHV WKDW SODJXHG 0\ODQ¶V VXSSOLHU DW WKH WLPH DQG IRU WKH IROORZLQJ \HDUV 
XOWLPDWHO\ OHDGLQJ WR DQ (SL3HQ UHFDOO

        )LUVW EHFDXVH $XYL4 UHSUHVHQWHG D QHZHU PRUH FRPSDFW GHYLFH DQG IHDWXUHG YRLFH
LQVWUXFWLRQ LW DGGUHVVHG SUHYLRXVO\ XQPHW QHHGV LQ WKH PDUNHWSODFH TXLWH SRVVLEO\ H[SDQGLQJ
WRWDO ($, PDUNHW VDOHV 'U 9DUQHU LJQRUHV WKHVH HIIHFWV DQG LQVWHDG RI HYDOXDWLQJ WKH LPSDFW RI
$XYL4 RQ WRWDO PDUNHW VDOHV VLPSO\ DVVXPHV WKDW 0\ODQ ZRXOG KDYH JDUQHUHG QHDUO\ DOO VDOHV
PDGH E\ 6DQRIL RI $XYL4

        6HFRQG 'U 9DUQHU IDLOV WR DGGUHVV ZKHWKHU 0\ODQ FRXOG KDYH PDGH WKHVH DGGLWLRQDO
(SL3HQ VDOHV JLYHQ WKH ZHOOGRFXPHQWHG LVVXHV WKDW LWV PDQXIDFWXUHU KDG ZLWK (SL3HQ
WKURXJKRXW WKLV SHULRG 'U 9DUQHU LJQRUHV WKH SRWHQWLDO HIIHFW WKDW PLOOLRQV RI DGGLWLRQDO XQLWV
PD\ KDYH KDG RQ DOUHDG\ H[LVWLQJ PDQXIDFWXULQJ SUREOHPV DQG ZKHWKHU VXFK DGGLWLRQDO
SURGXFWLRQ ZRXOG KDYH H[DFHUEDWHG WKHP WHPSRUDULO\ VORZLQJ SURGXFWLRQ RU UHVXOWLQJ VRRQHU LQ
WKH FXUUHQW (SL3HQ VKRUWDJH

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        ,W LV ERWK QHFHVVDU\ DQG SURSHU WR DVVXPH WKDW WKH FRQGXFW DOOHJHG E\ 0\ODQ LV WUXH LQ
HVWLPDWLQJ GDPDJHV +RZHYHU LW LV QRW SURSHU RU DSSURSULDWH WR DVVXPH WKDW WKH DOOHJHG FRQGXFW
LPSDFWHG 6DQRIL¶V VDOHV LQ WKH PDUNHWSODFH RU WKDW WKH DOOHJHG FRQGXFW ZDV WKH VROH UHDVRQ IRU
$XYL4 VDOHV +HQFH WKH ILUVW FHQWUDO TXHVWLRQ LQ DQ\ SURSHU GDPDJHV DQDO\VLV LQ WKLV FDVH LV WR


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     9DUQHU 5HSRUW  
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    , XVH WKHVH SUHODXQFK VDOHV IRUHFDVWV EHORZ DV WKH EHQFKPDUN RI VDOHV WKDW $XYL4
ZRXOG KDYH DFKLHYHG EXWIRU WKH DOOHJHG VWDWHPHQWV DQG SUDFWLFHV 7KLV EHQFKPDUN FDQ WKHQ EH
FRPSDUHG WR DFWXDO VDOHV WR DVVHVV WKH LPSDFW RI WKH DOOHJHG FRQGXFW RQ $XYL4 VDOHV , QRZ
WXUQ P\ DWWHQWLRQ WR WKLV EHQFKPDUN

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    7R GHYHORS WKLV EHQFKPDUN , FRQVLGHU WKH DVVHVVPHQWV RI $XYL4 E\ ERWK 0\ODQ DQG
6DQRIL LQ WKH SUHODXQFK HUD SULRU WR WKH DOOHJHG FRQGXFW , H[DPLQH WKH TXDOLWDWLYH SURGXFW
DVVHVVPHQWV DQG VDOHV IRUHFDVWV ERWK FRPSDQLHV GHYHORSHG , DOVR H[DPLQH WKH TXDOLWDWLYH
DVVHVVPHQWV WKDW ERWK FRPSDQLHV PDGH UHJDUGLQJ KRZ WKH PDUNHW UHDFWHG WR $XYL4 GXULQJ WKH
SRVWODXQFK HUD 7RJHWKHU WKHVH PDUNHW DVVHVVPHQWV SURYLGH D EHQFKPDUN RI H[SHFWHG $XYL4
VDOHV IRUPHG SULRU WR WKH DOOHJHG FRQGXFW

    $XYL4 H[KLELWHG D YDULHW\ RI IDYRUDEOH IHDWXUHV WKDW ERWK 0\ODQ DQG 6DQRIL H[SHFWHG
WR GULYH KLJK VDOHV DQG JHQHUDWH VLJQLILFDQW PDUNHW SHQHWUDWLRQ 7KHVH IHDWXUHV LQFOXGHG 


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$XYL4¶V FRPSDFW VL]H  LWV DXGLR LQVWUXFWLRQV  LWV UHWUDFWDEOH QHHGOH  LWV HPERGLPHQW RI
³VWDWHRIWKHDUW WHFKQRORJ\´ DQG  WKH KHDY\ SURPRWLRQ E\ 6DQRIL DQWLFLSDWHG IRU $XYL4 DQG
LWV ³VKDUH RI YRLFH´ ZLWKLQ WKH ($, PDUNHW 7KHVH IHDWXUHV ZHUH H[SHFWHG WR²DQG GLG²FUHDWH
WKH PDUNHW SHUFHSWLRQ WKDW $XYL4 ZDV HDV\ WR XVH DQG WRJHWKHU WKHVH IDFWRUV GURYH VDOHV

        7KH ILUVW VWHS LV WR FRQVLGHU KRZ WKHVH IHDWXUHV ZHUH H[SHFWHG WR LPSDFW VDOHV DQG PDUNHW
VKDUH GXULQJ WKH SHULRG SULRU WR $XYL4¶V ODXQFK

           $ 35(/$81&+ $66(660(176 2) $89,4

                 1. Mylan’s Qualitative Assessments
        3ULRU WR $XYL4¶V ODXQFK 0\ODQ DQG LWV PDQXIDFWXULQJ SDUWQHU 0HULGLDQ H[WHQVLYHO\
UHVHDUFKHG $XYL4 DQG LWV SRWHQWLDO LPSDFW RQ WKH ($, PDUNHW ,Q WKRVH DQDO\VHV 0\ODQ DQG
0HULGLDQ UHYLHZHG $XYL4¶V FKDUDFWHULVWLFV KRZ WKRVH FKDUDFWHULVWLFV ZRXOG EH UHFHLYHG E\
GRFWRUV DQG SDWLHQWV DQG $XYL4¶V VDOHV SRWHQWLDO 0\ODQ FRQFOXGHG WKDW $XYL4 ZRXOG
OLNHO\ KDYH D KLJK PDUNHW SHQHWUDWLRQ UDWH DQG YHU\ VXEVWDQWLDO VDOHV

        0\ODQ¶V DVVHVVPHQW RI KLJK VDOHV SRWHQWLDO ZDV GULYHQ E\ $XYL4¶V LQQRYDWLYH
FKDUDFWHULVWLFV DQG KRZ WKRVH FKDUDFWHULVWLFV GLIIHUHQWLDWHG WKH SURGXFW IURP (SL3HQ WR VDWLVI\
XQPHW QHHGV LQ WKH PDUNHW $V HDUO\ DV  0\ODQ DQG 0HULGLDQ ZHUH DZDUH WKDW $XYL4
SRVHG D WKUHDW WR WKHLU (SL3HQ EXVLQHVV




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     Compare 0<(3 (SL3HQ &RPPHUFLDO 7HDP 0HHWLQJ 0D\    DW  LGHQWLI\LQJ (SL3HQ
     ³ZHDNQHVVHV´ ³6L]H ± 1RW FRQYHQLHQW IRU VRPH XVHUV´ ³7LPHO\ DQG FRVWO\ SURGXFW LQQRYDWLRQV´ DQG ³3RWHQWLDO
     SHUFHSWLRQ RI GDWHG WHFKQRORJ\´ 

     3)(B(3,3(1B$7




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